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                             UNITED STATES BANKRUPTCY COURT Pg                           1 of 31
                                 Southern  District
                                    __________       of of
                                               District New    York
                                                           __________
                                                                                                                                    VOLUNTARY PETITION

 Name of Debtor (if individual, enter Last, First, Middle):                                   Name of Joint Debtor (Spouse) (Last, First, Middle):
 Hawker Beechcraft, Inc.
 All Other Names used by the Debtor in the last 8 years                                       All Other Names used by the Joint Debtor in the last 8 years
 (include married, maiden, and trade names):                                                  (include married, maiden, and trade names):
 Hawker Beechcraft Holding Corp. and Hawker Beechcraft Corporation
 Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN                Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN
 (if more than one, state all):                                                               (if more than one, state all):
 XX-XXXXXXX
 Street Address of Debtor (No. and Street, City, and State):                                  Street Address of Joint Debtor (No. and Street, City, and State):
 10511 East Central
 Wichita, Kansas
                                                                    ZIP CODE 67206                                                                         ZIP CODE
 County of Residence or of the Principal Place of Business:                                   County of Residence or of the Principal Place of Business:
 Sedgwick County
 Mailing Address of Debtor (if different from street address):                                Mailing Address of Joint Debtor (if different from street address):



                                                                 ZIP CODE                                                                                  ZIP CODE
 Location of Principal Assets of Business Debtor (if different from street address above):
 New York, New York                                                                                                                                     ZIP CODE
                           Type of Debtor                                        Nature of Business                         Chapter of Bankruptcy Code Under Which
                       (Form of Organization)                        (Check one box.)                                          the Petition is Filed (Check one box.)
                          (Check one box.)
                                                                           Health Care Business                             Chapter 7                  Chapter 15 Petition for
        Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in           Chapter 9                  Recognition of a Foreign
        See Exhibit D on page 2 of this form.                              11 U.S.C. § 101(51B)                      ✔      Chapter 11                 Main Proceeding
 ✔      Corporation (includes LLC and LLP)                                 Railroad                                         Chapter 12                 Chapter 15 Petition for
        Partnership                                                        Stockbroker                                      Chapter 13                 Recognition of a Foreign
        Other (If debtor is not one of the above entities, check           Commodity Broker                                                            Nonmain Proceeding
        this box and state type of entity below.)                          Clearing Bank
                                                                     ✔     Other       Aviation
                        Chapter 15 Debtors                                       Tax-Exempt Entity                                         Nature of Debts
 Country of debtor’s center of main interests:                                (Check box, if applicable.)                                  (Check one box.)
                                                                                                                         Debts are primarily consumer ✔ Debts are
                                                                          Debtor is a tax-exempt organization            debts, defined in 11 U.S.C.        primarily
 Each country in which a foreign proceeding by, regarding, or             under title 26 of the United States            § 101(8) as “incurred by an        business debts.
 against debtor is pending:                                               Code (the Internal Revenue Code).              individual primarily for a
                                                                                                                         personal, family, or
                                                                                                                         household purpose.”
                                Filing Fee (Check one box.)                                                                  Chapter 11 Debtors
                                                                                              Check one box:
 ✔      Full Filing Fee attached.                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                              ✔ Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach
        signed application for the court’s consideration certifying that the debtor is        Check if:
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.             Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                  insiders or affiliates) are less than $2,343,300 (amount subject to adjustment
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must              on 4/01/13 and every three years thereafter).
        attach signed application for the court’s consideration. See Official Form 3B.        -----------------------------------
                                                                                              Check all applicable boxes:
                                                                                                  A plan is being filed with this petition.
                                                                                                  Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                  of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                       THIS SPACE IS FOR
                                                                                                                                                              COURT USE ONLY
 ✔         Debtor estimates that funds will be available for distribution to unsecured creditors.
           Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
           distribution to unsecured creditors.
 Estimated Number of Creditors on a consolidated basis
                                                                                                           ✔
 1-49          50-99          100-199           200-999    1,000-          5,001-         10,001-         25,001-          50,001-           Over
                                                           5,000           10,000         25,000          50,000           100,000           100,000

 Estimated Assets on a consolidated basis
                                                                                                                                              ✔
 $0 to         $50,001 to     $100,001 to  $500,001        $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000     to $1           to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                           million         million         million        million         million
 Estimated Liabilities on a consolidated basis
                                                                                                                                              ✔
 $0 to         $50,001 to     $100,001 to       $500,001   $1,000,001      $10,000,001    $50,000,001     $100,000,001      $500,000,001     More than
 $50,000       $100,000       $500,000          to $1      to $10          to $50         to $100         to $500           to $1 billion    $1 billion
                                                million    million         million        million         million
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 Voluntary Petition                                                       Pg 2 ofName 31 of Debtor(s):
 (This page must be completed and filed in every case.)                               Hawker Beechcraft, Inc.
                                     All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
 Location                                                                            Case Number:                                      Date Filed:
 Where Filed:
 Location                                                                            Case Number:                                      Date Filed:
 Where Filed:
                      Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
 Name of Debtor:                                                                     Case Number:                                      Date Filed:
                      See Rider 1
 District:                                                                                      Relationship:                                    Judge:
                Southern District of New York


                                         Exhibit A                                                                                  Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                                (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                    whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)
                                                                                                I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                                informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                                of title 11, United States Code, and have explained the relief available under each
                                                                                                such chapter. I further certify that I have delivered to the debtor the notice required
                                                                                                by 11 U.S.C. § 342(b).
        Exhibit A is attached and made a part of this petition.
                                                                                                X
                                                                                                    Signature of Attorney for Debtor(s)       (Date)

                                                                                      Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

        Yes, and Exhibit C is attached and made a part of this petition.

 ✔      No.



                                                                                      Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

       Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:

        Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.




                                                                      Information Regarding the Debtor - Venue
                                                                                (Check any applicable box.)
              ✔        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                       preceding the date of this petition or for a longer part of such 180 days than in any other District.

                       There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                       Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has
                       no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this
                       District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                   Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                           (Check all applicable boxes.)

                          Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                (Name of landlord that obtained judgment)



                                                                                                (Address of landlord)

                          Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                          entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

                          Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                          of the petition.

                          Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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 Voluntary Petition                                                     Pg 3 ofName
                                                                                31 of Debtor(s):
 (This page must be completed and filed in every case.)                                      Hawker Beechcraft, Inc.
                                                                                     Signatures
                     Signature(s) of Debtor(s) (Individual/Joint)                                                    Signature of a Foreign Representative

 I declare under penalty of perjury that the information provided in this petition is true   I declare under penalty of perjury that the information provided in this petition is true
 and correct.                                                                                and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7, 11, 12
 or 13 of title 11, United States Code, understand the relief available under each such      (Check only one box.)
 chapter, and choose to proceed under chapter 7.
                                                                                                  I request relief in accordance with chapter 15 of title 11, United States Code.
 [If no attorney represents me and no bankruptcy petition preparer signs the petition] I          Certified copies of the documents required by 11 U.S.C. § 1515 are attached.
 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
 I request relief in accordance with the chapter of title 11, United States Code,                 chapter of title 11 specified in this petition. A certified copy of the
 specified in this petition.                                                                       order granting recognition of the foreign main proceeding is attached.

 X                                                                                           X
      Signature of Debtor                                                                         (Signature of Foreign Representative)

 X
      Signature of Joint Debtor                                                                   (Printed Name of Foreign Representative)

      Telephone Number (if not represented by attorney)
                                                                                                  Date
      Date
                                  Signature of Attorney*                                                 Signature of Non-Attorney Bankruptcy Petition Preparer

 X     /s/ Paul M. Basta                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
      Signature of Attorney for Debtor(s)                                                    defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have
       Paul M. Basta                                                                         provided the debtor with a copy of this document and the notices and information
      Printed Name of Attorney for Debtor(s)                                                 required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
       Kirkland & Ellis LLP                                                                  guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum
      Firm Name                                                                              fee for services chargeable by bankruptcy petition preparers, I have given the debtor
                                                                                             notice of the maximum amount before preparing any document for filing for a debtor
       601 Lexington Avenue                                                                  or accepting any fee from the debtor, as required in that section. Official Form 19 is
       New York, New York 10022-4611                                                         attached.
      Address
       (212) 446-4800
      Telephone Number                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer
       05/03/2012
      Date
                                                                                                  Social-Security number (If the bankruptcy petition preparer is not an individual,
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a                    state the Social-Security number of the officer, principal, responsible person or
 certification that the attorney has no knowledge after an inquiry that the information           partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
 in the schedules is incorrect.

                   Signature of Debtor (Corporation/Partnership)

 I declare under penalty of perjury that the information provided in this petition is true        Address
 and correct, and that I have been authorized to file this petition on behalf of the
 debtor.
                                                                                             X
 The debtor requests the relief in accordance with the chapter of title 11, United States         Signature
 Code, specified in this petition.

 X     /s/ KJ Tjon                                                                                Date
      Signature of Authorized Individual
       KJ Tjon                                                                               Signature of bankruptcy petition preparer or officer, principal, responsible person, or
      Printed Name of Authorized Individual                                                  partner whose Social-Security number is provided above.
       Authorized Signatory
      Title of Authorized Individual                                                         Names and Social-Security numbers of all other individuals who prepared or assisted
       05/03/2012
                                                                                             in preparing this document unless the bankruptcy petition preparer is not an
      Date
                                                                                             individual.

                                                                                             If more than one person prepared this document, attach additional sheets conforming
                                                                                             to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer’s failure to comply with the provisions of title 11 and
                                                                                             the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or
                                                                                             both. 11 U.S.C. § 110; 18 U.S.C. § 156.
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                                              Rider 1

           Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the Southern District of New York for relief
under chapter 11 of title 11 of the United States Code. The Debtors have moved for joint
administration of these cases under the case number assigned to the chapter 11 case of Hawker
Beechcraft, Inc.

          1.     Hawker Beechcraft, Inc.

          2.     Arkansas Aerospace, Inc.

          3.     Beech Aircraft Corporation

          4.     Beechcraft Aviation Company

          5.     Hawker Beechcraft Acquisition Company, LLC

          6.     Hawker Beechcraft Corporation

          7.     Hawker Bechcraft Defense Company, LLC

          8.     Hawker Beechcraft Finance Corporation

          9.     Hawker Beechcraft Global Customer Support Corporation

          10.    Hawker Beechcraft Holding, Inc.

          11.    Hawker Beechcraft International Delivery Corporation

          12.    Hawker Beechcraft International Holding LLC

          13.    Hawker Beechcraft International Service Company

          14.    Hawker Beechcraft Notes Company

          15.    Hawker Beechcraft Quality Support Company

          16.    Hawker Beechcraft Regional Offices, Inc.

          17.    HBC, LLC

          18.    Rapid Aircraft Parts Inventory and Distribution Company, LLC




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                             )
In re:                                                       )    Chapter 11
                                                             )
HAWKER BEECHCRAFT, INC., et al.,1                            )    Case No. 12-________ (___)
                                                             )
                          Debtors.                           )    (Joint Administration Requested)
                                                             )

                        CONSOLIDATED LIST OF CREDITORS
                  HOLDING THE TOP 50 LARGEST UNSECURED CLAIMS

        The above-captioned debtors and debtors in possession (collectively, the “Debtors”) each
filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code. The
following is the consolidated list of the Debtors’ creditors holding the 50 largest unsecured
claims (the “Consolidated List”) based on the Debtors’ books and records as of approximately
April 30, 2012. The Consolidated List is prepared in accordance with Rule 1007(d) of the
Federal Rules of Bankruptcy Procedure for filing in the chapter 11 cases. The Consolidated List
does not include (1) persons who come within the definition of “insider” set forth in 11 U.S.C.
§ 101(31) or (2) secured creditors. None of these creditors are minor children. The information
contained herein shall neither constitute an admission of liability by, nor is it binding on, the
Debtors. The information herein, including the failure of the Debtors to list any claim as
contingent, unliquidated, or disputed, does not constitute a waiver of the Debtors’ right to contest
the validity, priority, or amount of any claim.




1   The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, include: Hawker Beechcraft, Inc. (2598); Arkansas Aerospace, Inc. (7496); Beech Aircraft
    Corporation (0487); Beechcraft Aviation Company (3548); Hawker Beechcraft Acquisition Company, LLC
    (8770); Hawker Beechcraft Corporation (5770); Hawker Beechcraft Defense Company, LLC (5891); Hawker
    Beechcraft Finance Corporation (8763); Hawker Beechcraft Global Customer Support Corporation (7338);
    Hawker Beechcraft Holding, Inc. (6044); Hawker Beechcraft International Delivery Corporation (6640);
    Hawker Beechcraft International Holding LLC (6757); Hawker Beechcraft International Service Company
    (9173); Hawker Beechcraft Notes Company (0498); Hawker Beechcraft Quality Support Company (7800);
    Hawker Beechcraft Regional Offices, Inc. (3889); HBC, LLC (N/A); and Rapid Aircraft Parts Inventory and
    Distribution Company, LLC (N/A). The location of the Debtors’ corporate headquarters and the Debtors’
    service address is: 10511 East Central, Wichita, Kansas 67206.
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                                                                                         Indicate if
                                                                    Nature of claim       claim is
                                  Complete mailing address, and      (trade debt,       contingent,     Amount of claim (if
       Name of Creditor          employee, agents, or department      bank loan,       unliquidated,    secured, also state
                                       familiar with claim           government         disputed, or     value of security)
                                                                    contracts, etc.)   subject to set
                                                                                             off
1.   Pension Benefit            Pension Benefit Guarantee           Pension Benefit      Contingent        Unliquidated
     Guarantee Corporation      Corporation
                                Attn: Office Of The Chief Counsel
                                1200 K St N W Ste 340
                                Washington, DC 20005-4026
                                United States

2.   Deutsche Bank National     Deutsche Bank National Trust        Unsecured Notes                        $318,300,000
     Trust Company              Company
                                Attn: Victoria Douyon
                                Administrative Agent
                                Senior Pik Election Notes
                                222 South Riverside Plaza, 25th
                                Floor
                                Chicago, IL 60606
                                United States

                                Phone: 312-537-8126
                                Fax: 312-537-1009
                                Email: victoria.douyon@db.com
3.   Deutsche Bank National     Deutsche Bank National Trust        Unsecured Notes                        $191,900,000
     Trust Company              Company
                                Attn: Victoria Douyon
                                Administrative Agent
                                Senior Notes
                                222 South Riverside Plaza, 25Th
                                Floor
                                Chicago, IL 60606
                                United States

                                Phone: 312-537-8126
                                Fax: 312-537-1009
                                Email: victoria.douyon@db.com
4.   Deutsche Bank National     Deutsche Bank National Trust        Unsecured Notes                        $153,400,000
     Trust Company              Company
                                Attn: Victoria Douyon
                                Administrative Agent
                                Subordinated Notes
                                222 South Riverside Plaza, 25Th
                                Floor
                                Chicago, IL 60606
                                United States

                                Phone: 312-537-8126
                                Fax: 312-537-1009
                                Email: victoria.douyon@db.com




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                                                                                           Indicate if
                                                                      Nature of claim       claim is
                                   Complete mailing address, and       (trade debt,       contingent,     Amount of claim (if
        Name of Creditor          employee, agents, or department       bank loan,       unliquidated,    secured, also state
                                        familiar with claim            government         disputed, or     value of security)
                                                                      contracts, etc.)   subject to set
                                                                                               off
5.   Export Development          Export Development Canada            Unsecured Notes                        $59,600,000
     Canada                      Attn: Shawn Mitchell - Principal
                                 150 Slater
                                 Ottawa, ON K1A 1K3
                                 Canada

                                 Phone: 613-598-3027
                                 Fax: 613-598-3811



6.   Rockwell Collins Inc        Rockwell Collins Inc                  Trade Payable                         $21,578,703
                                 Attn: Clay Jones - Chief Executive
                                 Officer
                                 400 Collins Rd NE
                                 Cedar Rapid, LA 82498
                                 United States

                                 Fax: 319-295-4941


7.   Honeywell International     Honeywell International Inc           Trade Payable                         $12,271,215
     Inc                         Attn: Tim Mahoney - Chief
                                 Executive Officer Aerospace
                                 111 S. 34Th Str
                                 Phoenix, AZ 85034
                                 United States

                                 Phone: 877-841-2840


8.   Pt Lion Mentari             Pt Lion Mentari                         Customer                            $10,000,000
                                 Attn: Rusdi Kirana - President           Deposit
                                 Director
                                 Lion Air Tower, 8Th Floor
                                 Jln. Gajah Mada No. 7
                                 Jakarta Pusat, 10130
                                 Indonesia

                                 Phone: +65-9652-7108
                                 Email:
                                 Rusdi.Kirana@Lionair.Com.Sg
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                                                                                          Indicate if
                                                                     Nature of claim       claim is
                                    Complete mailing address, and     (trade debt,       contingent,     Amount of claim (if
         Name of Creditor          employee, agents, or department     bank loan,       unliquidated,    secured, also state
                                         familiar with claim          government         disputed, or     value of security)
                                                                     contracts, etc.)   subject to set
                                                                                              off
9.    Nigerian Presidential Air   Nigerian Presidential Air Wing        Customer                             $9,000,000
      Wing                        Attn: Mr. Ma Yakubu - Group            Deposit
                                  Captain
                                  Nnamdi Azikiwe International
                                  Airport
                                  Presidential Air Fleet
                                  Abuja
                                  Nigeria

                                  Phone: +234 8052088048
                                  Email: Maminuyana@Yahoo.Com

10.   IBM Corp                    IBM Corp                            Trade Payable                          $8,221,075
                                  Attn: Dave Miller - Managing
                                  Partner, Americas And Global
                                  Industrial Sector
                                  New Orchard Road
                                  Armonk, NY 10504
                                  United States

                                  Phone: 704-609-2980
                                  Email: David.E.Miller@Us.Ibm.Com

11.   Perfectura Naval            Perfectura Naval Argentina            Customer                             $7,782,446
      Argentina                   Attn: Majo Lezama - Major              Deposit
                                  Aeropuerto Internatcional De San
                                  Fernando
                                  Hangar De Pna
                                  Ruta 202 Esquina Balcarce
                                  Buenos Aires, San Fernando, 1646
                                  Argentina

                                  Phone: (54114)714-3777
                                  Fax: 541147142442
                                  Email:
                                  Majo_Lezama@Aerobaires.Com.Ar
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                                                                                           Indicate if
                                                                      Nature of claim       claim is
                                Complete mailing address, and          (trade debt,       contingent,     Amount of claim (if
         Name of Creditor      employee, agents, or department          bank loan,       unliquidated,    secured, also state
                                     familiar with claim               government         disputed, or     value of security)
                                                                      contracts, etc.)   subject to set
                                                                                               off
12.   Airbus Operations       Airbus Operations Limited                Trade Payable                          $7,591,839
      Limited                 Attn: Soeren Fischer - Vice President
                              Diversification Programme
                              1 Rond-Point Maurice Bellonte
                              31707 Blagnac Cedex
                              France

                              Phone: +33 (0) 5 61 18 58 41
                              Email: Soeren Fischer
                              (Soeren.Fischer@Airbus.Com)

13.   Madis Management        Madis Management                           Customer                             $7,000,000
                              Attn: Mr. Vladimir Ann - Chief              Deposit
                              Executive Officer
                              Morgan And Morgan Building
                              Pasea Estate
                              P.O. Box 958
                              Road Town, Tortola,
                              Virgin Islands (British)

                              Phone: 77011115802
                              Email: Anvv1968@Mail.Ru



14.   Aernnova Aerospace      Aernnova Aerospace Mexico Sa De          Trade Payable                          $6,656,419
      Mexico Sa De Cv         Cv
                              Attn: Inaki Lopez Gandasegui - Chief
                              Executive Officer
                              Av Benito Juarez No109 Piq
                              Queretaro, 76220
                              Mexico

                              Phone: +34-913-827-844
                              Fax: 00 52 442 240 93 54
                              Email: Luis.Perez@Aernnova.Com
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                                                                                           Indicate if
                                                                      Nature of claim       claim is
                                  Complete mailing address, and        (trade debt,       contingent,     Amount of claim (if
         Name of Creditor        employee, agents, or department        bank loan,       unliquidated,    secured, also state
                                       familiar with claim             government         disputed, or     value of security)
                                                                      contracts, etc.)   subject to set
                                                                                               off
15.   Fuji Heavy Industries     Fuji Heavy Industries Ltd              Trade Payable                          $6,173,372
      Ltd                       Attn: Shoichiro Tozuka - Vice
                                President
                                101011 Yonan
                                Utsunomiya Tochigi, 3208564
                                Japan

                                Phone: 81-907-710-9658
                                Fax: (03) 3347-2338
                                Email: Tozukas@Uae.Subaru-
                                Fhi.Co.Jp

16.   Flightsafety Services     Flightsafety Services Corp             Trade Payable                          $6,129,904
      Corp                      Attn: Bruce Whitman - President &
                                Chief Executive Officer
                                La Guardia Airport
                                Flushing, NY 11371
                                United States

                                Phone: 718-565-4112
                                Fax: 303-783-8557


17.   Avion Pacific Limited     Avion Pacific Limited                    Customer                             $5,800,366
                                Attn: Wu Zhendong - Managing              Deposit
                                Director
                                Room 1501, 15/F Wanchai
                                Commercial Building
                                194-204 Johnston Road
                                Wanchai
                                Hong Kong

                                Phone: 86 755 2667 0729
                                Fax: +86 755 266 70729
                                Email: Bei@Avionpacific.Com


18.   Labinal De Mexico         Labinal De Mexico                      Trade Payable                          $5,484,664
                                Attn: Karen Bomba - Chief Executive
                                Officer
                                12120 Esther Lama Dr
                                El Paso, TX 79936
                                United States

                                Phone: 915-860-0701
                                Email:
                                Karen.Bomba@Us.Labinal.Com
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                                                                                          Indicate if
                                                                     Nature of claim       claim is
                                    Complete mailing address, and     (trade debt,       contingent,     Amount of claim (if
         Name of Creditor          employee, agents, or department     bank loan,       unliquidated,    secured, also state
                                         familiar with claim          government         disputed, or     value of security)
                                                                     contracts, etc.)   subject to set
                                                                                              off
19.   Inter Aviation              Inter Aviation                        Customer                             $5,000,000
                                  Attn: Ms. Olivia Ticleanu -            Deposit
                                  Counsellor
                                  1-3 Verii Street
                                  3rd Floor - Et 3
                                  Room 303, Sector 2
                                  Bucharest, 20723
                                  Romania

                                  Phone: 40212101020
                                  Fax: 40212104805
                                  Email: Olivia@Interagro.Ro



20.   Corporate Aircraft S.A.     Corporate Aircraft S.A.               Customer                             $4,922,165
                                  Palazzo Del Sole                       Deposit
                                  Roveredo, 6535
                                  Switzerland

                                  Phone: 41796829066
                                  Fax: 41918350254
                                  Email: T.Letourneur@Corporate-
                                  Aircraft.Com


21.   L3 Communications           L3 Communications                   Trade Payable                          $4,761,392
                                  Attn: Donald Spetter - Chief
                                  Executive Officer
                                  555 Inductrial Drive South
                                  Madison, IL 39110
                                  United States

                                  Phone: 847-259-0740
                                  Fax: 847-660-1811
                                  Email: Edi.Info@L-3Com.Com
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                                                                                               Indicate if
                                                                          Nature of claim       claim is
                                     Complete mailing address, and         (trade debt,       contingent,     Amount of claim (if
         Name of Creditor           employee, agents, or department         bank loan,       unliquidated,    secured, also state
                                          familiar with claim              government         disputed, or     value of security)
                                                                          contracts, etc.)   subject to set
                                                                                                   off
22.   Hawker Pacific Pty. Ltd.     Hawker Pacific Pty. Ltd.                  Customer                             $4,220,978
                                   Attn: Tony Jones - Senior Vice             Deposit
                                   President
                                   112 Airport Avenue
                                   Bankstown Airport
                                   Sydney, NSW, 2200
                                   Australia

                                   Phone: 61 2 97018 8546
                                   Fax: +61 2 9708 8697
                                   Email:
                                   Tony.Jones@Hawkerpacific.Com


23.   Genuine Parts Company        Genuine Parts Company                     Customer                             $4,000,000
                                   Attn: Scott Smith - Senior Vice            Deposit
                                   President & Corporate Counsel
                                   2999 Circle 75 Parkway
                                   Atlanta, GA 30339
                                   United States

                                   Phone: 770-953-1700
                                   Fax: 7709562211
                                   Email: Wbrown1945@Bellsouth.Net


24.   IQ Navigator Inc             IQ Navigator Inc                        Trade Payable                          $3,970,400
                                   Attn: Art Knapp - Evp Global Service
                                   Delivery
                                   6465 Greenwood Plaza Blvd Suite
                                   800
                                   Centennial , CO 80111
                                   United States

                                   Phone: 303-563-1613
                                   Fax: 303-563-1650
                                   Email: Aknapp@Iqnavigator.Com

25.   Messier Dowty Inc            Messier Dowty Inc                       Trade Payable                          $3,933,968
                                   Attn: Bryan Teed - President
                                   574 Monarch Ave
                                   Ajax, ON L1S2GB
                                   Canada

                                   Phone: 905-683-3100
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                                                                    Nature of claim       claim is
                                   Complete mailing address, and     (trade debt,       contingent,     Amount of claim (if
         Name of Creditor         employee, agents, or department     bank loan,       unliquidated,    secured, also state
                                        familiar with claim          government         disputed, or     value of security)
                                                                    contracts, etc.)   subject to set
                                                                                             off
26.   Lider Taxi Aero S.A. Air   Lider Taxi Aero S.A. Air Brazil       Customer                             $3,872,333
      Brazil                     Attn: Eduardo Vaz - President          Deposit
                                 Av. Santa Rosa, 123
                                 Pampulha
                                 Belo Horizonte, Minas, 31270-750
                                 Brazil

                                 Phone: 55 31 3490 4550
                                 Fax: 553134904588
                                 Email:
                                 Eduardo.Vaz@Lideraviacao.Com.Br



27.   Netjets Middle             Netjets Middle East/Nasjets           Customer                             $3,649,329
      East/Nasjets               Attn: Mr. Salaiman Al Hamdan -         Deposit
                                 Chief Executive Officer
                                 Po Box 305161
                                 1St Floor Al Salam Center Prince
                                 Muhammad Ibn Abdulaziz (Tahliya)
                                 Street
                                 Olaya, Riyadh, 11361
                                 Saudi Arabia

                                 Phone: +966 (01)2171800
                                 Fax: +966 (01)2171830
                                 Email: Salhamdan@Nasaviation.Com
28.   Computer Sciences          Computer Sciences Corporation       Trade Payable                          $3,557,136
      Corporation                Attn: Pete Wiese - Director
                                 1520 Hughes Way
                                 Long Beach, CA 90810
                                 United States

                                 Phone: 316-676-5588
                                 Fax: +1.703.876.1000
                                 Email: Kwiese@Csc.Com
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                                                                       Nature of claim       claim is
                                  Complete mailing address, and         (trade debt,       contingent,     Amount of claim (if
         Name of Creditor        employee, agents, or department         bank loan,       unliquidated,    secured, also state
                                       familiar with claim              government         disputed, or     value of security)
                                                                       contracts, etc.)   subject to set
                                                                                                off
29.   Martin Baker Aircraft     Martin Baker Aircraft Co Ltd            Trade Payable                          $3,386,542
      Co Ltd                    Attn: J.W. Martin - Chief Executive
                                Officer
                                Lower Road Higher Denham
                                Uxbridge, Middlesex, UB9 5AJ
                                United Kingdom

                                Phone: +44 011-44 189-583-6508
                                Fax: 814-262-9556


30.   Cmc Electronics Inc       Cmc Electronics Inc                     Trade Payable                          $3,244,410
                                Attn: Greg Yeldon - President
                                600 Dr. Federik-Phillips Blvd Ville
                                Saint-Laurent
                                Quebec, H4M259
                                Canada

                                Phone: 514-748-3119
                                Fax: 514-748-3100


31.   Spirit Aerosystems        Spirit Aerosystems Europe Limited       Trade Payable                          $2,761,492
      Europe Limited            Attn: Scott Mckarty - Vice President
                                Glascow Prestwick Airport Prestwick
                                Ayrchire
                                Prestwick Ayrshire, Scotland, KA9
                                2RW
                                United Kingdom

                                Phone: +44 129 267 2147
32.   Colentra Leasing          Colentra Leasing Enterprises Ltd          Customer                             $2,149,008
      Enterprises Ltd           Attn: Mr. Viktor Lebed - Chairman          Deposit
                                30 Karpenisiou
                                Nicosia,
                                Cyprus

                                Phone: 35725580490
                                Fax: 357.255.804.90
                                Email: Colentra@Spidernet.Com.Cy
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                                   Complete mailing address, and     (trade debt,       contingent,     Amount of claim (if
         Name of Creditor         employee, agents, or department     bank loan,       unliquidated,    secured, also state
                                        familiar with claim          government         disputed, or     value of security)
                                                                    contracts, etc.)   subject to set
                                                                                             off
33.   Itochu Aviation Inc        Itochu Aviation Inc                   Customer                             $2,102,685
                                 Attn: Claire Hanna - Sr. Manager       Deposit
                                 Suite 2200, 222 N. Sepulveda
                                 El Segundo, CA 90245
                                 United States

                                 Phone: 316-688-5115
                                 Fax: 316.655.9368
                                 Email: Nobu@Iaj.Co.Jp




34.   Be Aerospace               Be Aerospace Consumables            Trade Payable                          $1,633,602
      Consumables                Management
      Management                 Attn: Wayne Exton - Group Vice
                                 President
                                 9100 Northwest 105Th Circle
                                 Miami, FL 33178
                                 United States

                                 Phone: 305-459-7105
                                 Fax: 305.459.7191
                                 Email:
                                 Wayne_Exton@Beaerospace.Com
35.   Airviaggi San Raffaele     Airviaggi San Raffaele S.R.1.         Customer                             $1,530,000
      S.R.1.                     Attn: Dr. Mario Cal - President        Deposit
                                 Via Olgettina North 60
                                 Milan, 20132
                                 Italy

                                 Phone: +49 02 2643 2643
                                 Fax: 011-8609125



36.   Fokker Elmo Bv             Fokker Elmo Bv                      Trade Payable                          $1,523,251
                                 Attn: Adriaan Leyte - President
                                 Postbus 75
                                 Hoogerheide, Noord-Holland, 4630
                                 AB
                                 Netherlands

                                 Phone: 31-0164-617-768
                                 Fax: 31-164-61-77-00
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                                                                        Nature of claim       claim is
                                  Complete mailing address, and          (trade debt,       contingent,     Amount of claim (if
         Name of Creditor        employee, agents, or department          bank loan,       unliquidated,    secured, also state
                                       familiar with claim               government         disputed, or     value of security)
                                                                        contracts, etc.)   subject to set
                                                                                                 off
37.   Dassault Systemes         Dassault Systemes Americas Corp          Trade Payable                          $1,513,231
      Americas Corp             Attn: Bob Waddell -
                                10330 David Taylor Rd
                                Charlotte, NC 28262
                                United States

                                Phone: 704-236-1426
                                Email: Robert.Waddell@3Ds.Com



38.   North Slope Borough       North Slope Borough                        Customer                             $1,504,851
                                P.O. Box 69                                 Deposit
                                Barrow, AK 99723



39.   Satyam Computer           Satyam Computer Services LTD             Trade Payable                          $1,493,149
      Services LTD              Attn: C. P. Gurnani - Chief Executive
                                Officer
                                Unit-12, Plot No. 35/36
                                Hyderabad, Andhra Pradesh, 500
                                081
                                India

                                Phone: +91-40-3063-6363
                                Fax: +91-40-4022-4122

40.   Global Parts Inc          Global Parts Inc                         Trade Payable                          $1,475,531
                                Attn: Troy T. Palmer - Chief
                                Executive Officer
                                901 Industrial Rd
                                Augusta, KS 67010
                                United States

                                Phone: 316-733-9240
                                Fax: 316-462-0500
                                Email: Roypalmer@Globalparts.Aero


41.   The Highland Consulting   The Highland Consulting Group Inc        Trade Payable                          $1,343,533
      Group Inc                 933 South Talbot Street Suite 15
                                Saint Michaels, MD 21663
                                United States
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                                                                 Nature of claim       claim is
                                Complete mailing address, and     (trade debt,       contingent,     Amount of claim (if
         Name of Creditor      employee, agents, or department     bank loan,       unliquidated,    secured, also state
                                     familiar with claim          government         disputed, or     value of security)
                                                                 contracts, etc.)   subject to set
                                                                                          off
42.   Aviaservice             Aviaservice International, N.V.       Customer                             $1,328,830
      International, N.V.     Attn: Istvan (Steve) Von Fedak -       Deposit
                              Excutive Vice President
                              Pareraweg 45
                              Americorp Building
                              Willemstad, Curacao,
                              Netherlands

                              Phone: 599 9 4343500
                              Fax: 582129754939
                              Email: Lvfedak@Gmail.Com



43.   Hamilton Sundstrand     Hamilton Sundstrand Corporation     Trade Payable                          $1,208,116
      Corporation             Attn: Michael Dumais - President
                              1 Hamilton Rd.
                              Windsor Lock, CT 6095
                              United States

                              Phone: 860-654-6000



44.   Am Castle & Co          Am Castle & Co                      Trade Payable                          $1,206,874
                              Attn: James Callan - President
                              1420 Kensington Rd Ste 220
                              Oak Brook, IL 60523
                              United States

                              Phone: 847-349-2246
                              Fax: 847-455-0587



45.   Aircell Inc.            Aircell Inc.                        Trade Payable                          $1,179,695
                              Attn: Ronald Lemay - Chief
                              Executive Officer
                              1172 W Century Dr
                              Louisville , CO 80027
                              United States

                              Phone: (303) 379-0234
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                                                                      Nature of claim       claim is
                                 Complete mailing address, and         (trade debt,       contingent,     Amount of claim (if
         Name of Creditor       employee, agents, or department         bank loan,       unliquidated,    secured, also state
                                      familiar with claim              government         disputed, or     value of security)
                                                                      contracts, etc.)   subject to set
                                                                                               off
46.   Pilatus Aircraft Ltd     Pilatus Aircraft Ltd                    Trade Payable                          $1,174,024
                               Attn: Oskar Bruendler - Senior Vice
                               President, Special Projects, Audit &
                               Compliance
                               P.O. Box 992
                               Stans, 6371
                               Switzerland

                               Phone: +41 41 619 66 40
                               Fax: +41 41 619 73 36
                               Email: Obruendler@Pilatus-
                               Aircraft.Com
47.   CE Machine Co Inc        CE Machine Co Inc                       Trade Payable                          $1,162,452
                               Attn: Brian Eck - Chief Executive
                               Officer
                               1741 S. Hoover Ct
                               Wichita, KS 67209
                               United States

                               Phone: 316-942-0411
                               Fax: 316-942-0011
                               Email: Brian@Cemachine.Com


48.   Air Routing Card         Air Routing Card Services LP            Trade Payable                          $1,143,463
      Services LP              Attn: Clay Jones - Chief Executive
                               Officer
                               400 Collins Rd NE
                               Cedar Rapid, LA 82498
                               United States

                               Fax: 319-295-4941


49.   Topstone Investment      Topstone Investment Corp                  Customer                             $1,031,650
      Corp                     Attn: Adriana Porto Dias -                 Deposit
                               Whitehall House - 238
                               North Church Street - 3Rd Fl
                               Po Box 1334-Ky-1-1108 George
                               Town
                               Grand Cayman,
                               Cayman Islands

                               Phone: 55 559130843038
                               Email: Adrianadias@Hpd.Com.Br
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                                                                   Nature of claim       claim is
                                  Complete mailing address, and     (trade debt,       contingent,     Amount of claim (if
        Name of Creditor         employee, agents, or department     bank loan,       unliquidated,    secured, also state
                                       familiar with claim          government         disputed, or     value of security)
                                                                   contracts, etc.)   subject to set
                                                                                            off
50.   Himalyaputra Aviation     Himalyaputra Aviation Limited         Customer                             $1,000,000
      Limited                   Attn: Sankalp Garg -                   Deposit
                                Sector 128, District Gautam Budh
                                Nagar
                                Uttar Pradesh, 201304
                                India

                                Phone: +91 120 460 9000
                                Fax: +91 120 460 9783
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                          DECLARATION UNDER PENALTY
                     OF PERJURY ON BEHALF OF CORPORATION

        Pursuant to 28 U.S.C. § 1746, I, KJ Tjon, the duly qualified and authorized signatory of
Hawker Beechcraft, Inc., declare under penalty of perjury that I have reviewed the Consolidated
List of Creditors Holding the 50 Largest Unsecured Claims and that it is true and correct to the
best of my information and belief.


Dated: May 3, 2012                               /s/ KJ Tjon
                                                 KJ Tjon
                                                 Authorized Signatory
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                           )
In re:                                                     )   Chapter 11
                                                           )
HAWKER BEECHCRAFT, INC.,                                   )   Case No. 12-________ (___)
                                                           )
                                   Debtor.                 )
                                                           )

                             LIST OF EQUITY SECURITY HOLDERS1

         Debtor                   Equity Holders               Address of Equity Holder2           Percentage of
                                                                                                   Equity Held
                             GS Capital Partners and its   GS Capital Partners VI Fund, L.P.           49%
                             affiliated funds              c/o GS Capital Partners
                                                           200 West Street, 28th Floor
                                                           New York, New York 10282
                             Onex Investment Corp.         Onex Partners II, L.P.                      49%
                             and its affiliated funds      c/o Onex Investment Corp.
                                                           712 Fifth Avenue
                                                           New York, New York 10019
                             Don Alvord                                                               <1.0%
                             Jeff Anastas                                                             <1.0%
                             Sid Anderson                                                             <1.0%
                             Paul Archiopoli                                                          <1.0%
                             Ian Atkinson                                                             <1.0%
                             Brian Barents                                                            <1.0%
                             Kent Barnes                                                              <1.0%
Hawker Beechcraft, Inc.      Jeff Blose                                                               <1.0%
                             Bob Blouin                                                               <1.0%
                             Bill Boisture                                                            <1.0%
                             Zan Borders                                                              <1.0%
                             Bill Brown                                                               <1.0%
                             Paresh Buch                                                              <1.0%
                             Simon Caldecott                                                          <1.0%
                             Jim Christiansen                                                         <1.0%
                             Don Cook                                                                 <1.0%
                             David Coppock                                                            <1.0%
                             Allen Couture                                                            <1.0%
                             Lance Crawford                                                           <1.0%
                             Steven Davison                                                           <1.0%
                             Don Dwyer                                                                <1.0%
                             Fred Eilts                                                               <1.0%


1   This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules
    of Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11
    case.

2   Due to privacy concerns, the debtor has withheld the personal address information for certain of the
    below-listed equity interest holders, but are willing to disclose it on a confidential basis.
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     Debtor             Equity Holders     Address of Equity Holder2      Percentage of
                                                                          Equity Held
                   Mike Ellis                                                <1.0%
                   Shane Ellis                                               <1.0%
                   Richard Emery                                             <1.0%
                   Bobbi Erb                                                 <1.0%
                   Kim Ernzen                                                <1.0%
                   Ted Farid                                                 <1.0%
                   Justin Firestone                                          <1.0%
                   Paul Estate Fischer                                       <1.0%
                   Jim Funk                                                  <1.0%
                   Jay Gibson                                                <1.0%
                   Marc Grenier                                              <1.0%
                   Doug Griswold                                             <1.0%
                   Lisa Haffner                                              <1.0%
                   Dave Hammond                                              <1.0%
                   Mike Hammond                                              <1.0%
                   Terry Harrell                                             <1.0%
                   Brad Hatt                                                 <1.0%
                   Dominique Hedon                                           <1.0%
                   Jimmy Helmick                                             <1.0%
                   Tom Hilpert                                               <1.0%
                   Mike Hinderberger                                         <1.0%
                   Rod Holter                                                <1.0%
                   Mike Hull                                                 <1.0%
                   Rich Jiwanlal                                             <1.0%
                   Paul Jonas                                                <1.0%
                   Bill Jones                                                <1.0%
                   Dean Jones                                                <1.0%
                   Dan Keady                                                 <1.0%
                   Ron King                                                  <1.0%
                   Jim Knight                                                <1.0%
                   Mike Langston                                             <1.0%
                   Gail Lehman                                               <1.0%
                   Kerry Masher                                              <1.0%
                   Jim Maslowski                                             <1.0%
                   Charles Mayer                                             <1.0%
                   Sean McGeough                                             <1.0%
                   Brad McKeage                                              <1.0%
                   Tom McKinney                                              <1.0%
                   Heidi McNary                                              <1.0%
                   John Meehan                                               <1.0%
                   Russ Meyer, III                                           <1.0%
                   Noell Michaels                                            <1.0%
                   Leo Mullin                                                <1.0%
                   Keith Nadolski                                            <1.0%
                   George Nguyen                                             <1.0%
                   Jim Noonan                                                <1.0%
                   Ed Petkus                                                 <1.0%
                   Gary Pickett                                              <1.0%
                   Scott Plumb                                               <1.0%
                   Vince Restivo                                             <1.0%
                   Dave Rosenberg                                            <1.0%
                   Jim Schuster                                              <1.0%
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        Debtor               Equity Holders           Address of Equity Holder2      Percentage of
                                                                                     Equity Held
                         Doug Scott                                                     <1.0%
                         George Sellew                                                  <1.0%
                         Scott Shepherd                                                 <1.0%
                         Bob Sill                                                       <1.0%
                         Alexander L.W. Snyder                                          <1.0%
                         Brad Stancil                                                   <1.0%
                         Christi Tannahill                                              <1.0%
                         Daryl Taylor                                                   <1.0%
                         Gina E. Vascsinec                                              <1.0%
                         Shawn Vick                                                     <1.0%
                         Mike Viscosi                                                   <1.0%
                         Peter Walker                                                   <1.0%
                         Brad Widmann                                                   <1.0%
                         Andy Yacenda                                                   <1.0%

                    DECLARATION UNDER PENALTY OF PERJURY

        I, KJ Tjon, the undersigned authorized signatory Hawker Beechcraft, Inc., named as the
debtor in this case, declare under penalty of perjury that I have read the foregoing list of equity
security holders and that it is true and correct to the best of my information and belief.


Dated: May 3, 2012                                /s/ KJ Tjon
                                                  KJ Tjon
                                                  Authorized Signatory
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                  )
In re:                                            )   Chapter 11
                                                  )
HAWKER BEECHCRAFT, INC.,                          )   Case No. 12-________ (___)
                                                  )
                              Debtor.             )
                                                  )

                         CORPORATE OWNERSHIP STATEMENT

       Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure
and Rule 1007-3 of the Local Bankruptcy Rules for the Southern District of New York, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:

                  Shareholder                         Approximate Percentage of Shares Held

GS Capital Partners and its affiliated funds                            49%

Onex Investment Corp. and its affiliated funds                          49%


                    DECLARATION UNDER PENALTY OF PERJURY

        I, KJ Tjon, the undersigned authorized signatory of Hawker Beechcraft, Inc., the debtor
in this case, declare under penalty of perjury that I have read the foregoing corporate ownership
statement and that it is true and correct to the best of my information and belief.


Dated: May 3, 2012                               /s/ KJ Tjon
                                                 KJ Tjon
                                                 Authorized Signatory
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